            Case 4:20-cv-06363-YGR Document 126 Filed 12/21/21 Page 1 of 17




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 7
     Maribeth Arendt

 8
                                 UNITED STATES DISTRICT COURT
 9
                        FOR THE NORTHERN DISTRICT OF CALIFORNIA
10
                                        OAKLAND DIVISION
11

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15   GEORGE J. AUSTIN,                            )   Case No.: 4:20-cv-06363 YGR
                                                  )
16
                                                  )   SPECIALLY APPEARING DEFENDANT
                    Plaintiff,                    )   JUDGE M. ARENDT’S NOTICE OF
17
                                                  )
            v.                                    )   MOTION, MOTION AND MEMOR-
                                                  )   ANDUM OF POINTS AND AUTHOR-
18
     ATLINA, et al.,                              )   ITIES TO DISMISS FOR LACK OF
19
                                                  )   SUBJECT MATTER JURISDICTION
                                                  )   (FRCP 12(b)(1)); AND INSUFFICIENT
                    Defendants.                   )
20                                                    SERVICE OF PROCESS (FRCP 12(b)(5)
                                                  )
21
                                                  )
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22
                                                  )   Trial Date: None Set
                                                  )
                                                  )   Hearing Date: January 25, 2022
23                                                    Time: 2 p.m. /See Note Re ZoomConference
                                                  )
                                                  )   Judge: Hon. Yvonne Gonzalez Rogers
24
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                 NOTICE OF AND MOTION TO DISMISS WITH SUPPORTING POINTS AND AUTHORITIES
                                           CASE NO. 4:20-CV-06363
         Case 4:20-cv-06363-YGR Document 126 Filed 12/21/21 Page 2 of 17




 1                                    TABLE OF CONTENTS
 2

 3   TABLE OF AUTHORITIES……………………………………………………………….…… 2
 4   NOTICE OF MOTION AND MOTION…………………………………………………………4
 5   MEMORANDUM OF POINTS AND AUTHORITIES...……………………………………….5
 6       I.        Introduction…………………………………………………………………….…5
 7       II.       Statement of Facts………………………………………………………………...6
 8                 A.     The June 2020 WCAB Subpoena………………………………………. 6
 9                 B.     Plaintiff’s Interactions with Defendant Maribeth Arendt………………...7
10                 C.     The Amended Complaint………………………………………...…….…7
11                 D.     Insufficient Service of Process……………………………………...……9
12       III.      Argument………………………………………………………………………...10
13                 A.     Lack of Personal Jurisdiction due to Insufficient Service of Process……10
14                        1. Plaintiff Missed the December 17, 2021 Deadline to Serve Arendt…..11
15                        2. Plaintiff Did Not Follow the Applicable Rules of Service……………11
16                        3. Dismissal of Defendant Maribeth Arendt is Proper…………….……..12
17                 B.     Lack of Subject Matter Jurisdiction……………………………….……..13
18                        1. As a WCAB ALJ Defendant Maribeth Arendt Enjoys Judicial
                          Immunity…………………………………………………………………13
19
                          2. State of California Employees Are Not Liable for Monetary
20                        Damages………………………………………………………………… 14
21                        3. Plaintiff Seeks Relief in the Wrong Forum…………….………..……15
22       IV.       Conclusion……………………………………………………………………….16
23

24

25

26

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28
                                                  1

                NOTICE OF AND MOTION TO DISMISS WITH SUPPORTING POINTS AND AUTHORITIES
                                          CASE NO. 4:20-CV-06363
                Case 4:20-cv-06363-YGR Document 126 Filed 12/21/21 Page 3 of 17




 1                                                    TABLE OF AUTHORITIES
 2
                                                                                                                                         Page(s)
 3   CASES

 4   Atlantic Coast Line Railroad Co. v. Brotherhood of Locomotive Engineers,
       (1970) 398 U.S. 281 .................................................................................................................. 15
 5   Butz v. Economou,
 6
       (1978) 438 U.S. 478, 98 S.Ct. 2894, 57 L.Ed.2d 895] .............................................................. 13
     Cranford v. United States,
 7     (E.D. Cal. 2005) 359 F. Supp. 2d 981 ................................................................................. 11, 13
     Dennis v. Sparks,
 8
       (1980) 449 U.S. 24 .................................................................................................................... 14
 9   Falls v. Superior Court,
       (1996) 42 Cal.App.4th 1031, 49 Cal.Rptr.2d 908 ..................................................................... 14
10   Grand Entm't Group, Ltd. v. Star Media Sales, Inc.,
       (3d Cir. 1993) 988 F.2d 476 ...................................................................................................... 11
11
     Harlow v. Fitzgerald,
12     (1982) 457 U.S. 800 .................................................................................................................. 14
     Hirsh v. Justices of the S.Ct. of the State of Cal.,
13     (9th Cir. 1995) 67 F.3d 708 ....................................................................................................... 14
     Jordan v. Hawaii Government Employees' Ass'n, Local 152, AFSCME, AFL-CIO,
14
       472 F.Supp. 1123, Hawaii 1979 ................................................................................................ 13
15   Mireles v. Waco,
       (1991) 502 U.S. 9 ................................................................................................................ 13, 14
16   Razavi v. Regis Corporation,
       (N.D. Cal., Jan. 8, 2016, No. 5:15-CV-02574-EJD) 2016 WL 97438 ...................................... 11
17
     Romano v. Bible,
18     (9th Cir. 1999) 169 F.3d 1182 ................................................................................................... 13
     S.J. v. Issaquah Sch. Dist. No. 411,
19     (9th Cir. 2006) 470 F.3d 1288 ................................................................................................... 11
     Scott v. Hayes,
20
       (11th Cir. 1983) 719 F.2d 1562……………………… ………………………………………14
21   Stump v. Spartman,
       (1973) 435 U.S. 349 .................................................................................................................. 13
22   Taylor v. Mitzel,
23
       (1978) 82 Cal.App.3d 665 ......................................................................................................... 14

24
     STATUTES
25
     42 U. S. C. § 1983 ......................................................................................................................... 14
26   Cal. Code Civ. Proc., § 410.10 ……………………………………………………………… 11
     Cal. Code Civ. Proc., §§ 413.10-417.40 ....................................................................................... 11
27   Cal. Code Civ. Proc., § 414.10 ..................................................................................................... 12
28
                                                                           2

                      NOTICE OF AND MOTION TO DISMISS WITH SUPPORTING POINTS AND AUTHORITIES
                                                CASE NO. 4:20-CV-06363
                Case 4:20-cv-06363-YGR Document 126 Filed 12/21/21 Page 4 of 17




     Cal. Code Civ. Proc. § 415.20, subd. (b) ...................................................................................... 12
 1
     Cal. Code Civ. Proc. § 415.20, subd. (b) ...................................................................................... 12
 2   Cal. Gov. Code, §§ 820.4.............................................................................................................. 15
     Cal. Gov. Code, § 950.2………………………………………………………………………….15
 3   Cal. Lab. Code, § 5300 ................................................................................................................. 15
 4
     RULES
 5
     Fed. Rules Civ.Proc. 4 ........................................................................................................ 6, 10, 11
 6
     Fed. Rules Civ.Proc. 4 (c)(2) ........................................................................................................ 12
 7   Fed. Rules Civ.Proc. 4 (e) (1)…………………………………..………………………….....….11
     Fed. Rules Civ.Proc. 12 (b)(1) ...................................................................................................... 13
 8   Fed. Rules Civ.Proc. 12 (b)(4) .................................................................................................... 11
     Fed. Rules Civ.Proc. 12 (b)(5)…………………………………………………….……………..11
 9

10
     REGULATIONS
11
     Cal. Code Regs., tit. 8, § 10455, subd. (f)………………………………………………… .. ……7
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                     NOTICE OF AND MOTION TO DISMISS WITH SUPPORTING POINTS AND AUTHORITIES
                                               CASE NO. 4:20-CV-06363
             Case 4:20-cv-06363-YGR Document 126 Filed 12/21/21 Page 5 of 17




 1                                NOTICE AND MOTION TO DISMISS
 2          PLEASE TAKE NOTICE that on January 25, 2022 at 2 p.m. in Courtroom 1 (4th Floor)
 3   of the above-captioned Court located at 1301 Clay Street, Oakland, CA 94612, specially-
 4   appearing Defendant Maribeth Arendt will move this Court for an order dismissing the instant
 5   matter and all purported causes of action asserted against her by Plaintiff in his First Amended
 6   Complaint (FAC) with prejudice, immediately and without leave to amend.
 7          All Parties and their Counsel are further noticed to review the court’s website for details
 8   about how to attend this hearing via Zoom: https://cand.uscourts.gov/judges/gonzalez-rogers-
 9   yvonne-ygr/.
10          Specially-appearing Defendant Arendt so moves the court based on the contents of this
11   Notice, this Motion and its Memorandum of Points and Authorities; the Supporting Declarations
12   and their exhibits; the pleadings and all papers on file in this action as set forth in the ECF; and
13   upon any oral or documentary evidence as may be presented at the time of this hearing.
14          Specially-appearing Defendant Arendt’s Motion is based on Lack of Personal Jurisdiction
15   due to Insufficient Service of Process (Fed. Rules Civ.Proc. 12 (b)(5); and Lack of Subject
16   Matter Jurisdiction (Fed. Rules Civ.Proc. 12(b)(1).
17                                                  Respectfully submitted,
18

19   Dated: December 21, 2021                       STATE OF CALIFORNIA
                                                    Department of Industrial Relations
20
                                                    Division of Workers’ Compensation
21

22
                                                    By: _/s/ Susan M. Marsh
23
                                                    Susan M. Marsh
24                                                  Attorney for Specially-Appearing Defendant
                                                    Maribeth Arendt
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                 NOTICE OF AND MOTION TO DISMISS WITH SUPPORTING POINTS AND AUTHORITIES
                                           CASE NO. 4:20-CV-06363
              Case 4:20-cv-06363-YGR Document 126 Filed 12/21/21 Page 6 of 17




                                MEMORANDUM OF POINTS AND AUTHORITIES
 1
                I.      INTRODUCTION
 2
              This lawsuit arises from Plaintiff’s misunderstanding of the workers’ compensation
 3
     system by which he has made a claim for benefits; a release of Plaintiff’s medical records that
 4
     did no harm; and Plaintiff’s misplaced rage toward Specially-appearing Defendant Maribeth
 5
     Arendt (ARENDT), an administrative law judge for the California’s Workers’ Compensation
 6
     Appeals Board (WCAB) assigned the trial of Plaintiff’s workers’ compensation claim (Comp
 7
     Case).
 8
              In his First Amended Complaint (FAC) (Electronic Court Filing (ECF) Docket Entry
 9
     #39), Plaintiff alleges that ARENDT injured him by a) “appearing to have signed” a June 11,
10
     2020 WCAB subpoena (June Subpoena) pursuant to which Dr. Lisa Nhu released Plaintiff’s
11
     medical records and thereby violated his privacy. As the face of the June Subpoena shows, that
12
     allegation is demonstrably false; and b) by using a tone of voice and manner of speaking during
13
     his Comp Case hearings that demonstrated bias and thereby violated his civil rights. Plaintiff has
14
     never shown how any alleged bias infected or motivated any improper or unlawful judicial act by
15
     ARENDT. Indeed, the only official act taken by ARENDT thus far in the Comp Case involves
16
     the scheduling of a QME exam. In fact, Plaintiff has stated on the WCAB record that he named
17
     ARENDT in this action to create a conflict that would compel her recusal from his Comp Case.
18
     (ARENDT Declaration, ¶¶ 7&8; see also, FAC, p. 28.)
19
              On the basis of that alleged conduct or manner, Plaintiff names ARENDT in seven of his
20
     FAC’s 11 causes of action.
21
              Even if the foregoing allegations were taken as true and actionable, ARENDT enjoys
22
     judicial immunity for her official actions. Also, as a State employee, ARENDT is shielded from
23
     liability for any damages resulting from injury caused by her during the course and scope of her
24
     employment. Regardless, Plaintiff’s FAC does not demonstrate a nexus between any of
25
     ARENDT’S alleged wrongdoing and any actual or compensable harm suffered by Plaintiff.
26

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                     NOTICE OF AND MOTION TO DISMISS WITH SUPPORTING POINTS AND AUTHORITIES
                                               CASE NO. 4:20-CV-06363
             Case 4:20-cv-06363-YGR Document 126 Filed 12/21/21 Page 7 of 17




 1          Plaintiff’s efforts to sue ARENDT for alleged but false reasons must fail here for another
 2   reason: he did not effect proper service on ARENDT as required by Rule 4 of the Federal Rules
 3   of Civil Procedure, and as referenced therein, the California Code of Civil Procedure. For that
 4   reason alone, dismissal of ARENDT with prejudice from this action is proper.
 5          Thus, the issues to be decided in this motion are whether 1) the court has personal
 6   jurisdiction over ARENDT given the insufficient service of process by Plaintiff; and 2) the court
 7   has subject matter jurisdiction to hear this matter given the doctrine of judicial immunity and
 8   other principles.
 9            II.      STATEMENT OF FACTS
10          The facts relevant to Plaintiff’s seven causes of action against ARENDT are these:
11          A. The June 2020 WCAB Subpoena
12          As recounted in his motion to dismiss in this action and demonstrated by supporting
13   papers, when attorney Defendant Guido Gaiteri (GAITERI) learned of Plaintiff’s car accident-
14   injury subsequent to his industrial injury, he engaged a record retrieval company, LEXITAS, to
15   obtain Plaintiff’s medical records from Defendant Dr. Lisa Nhu. (ECF #77.) On June 11, 2020,
16   LEXITAS used a stamped-signed WCAB subpoena to do so (hereinafter, the June Subpoena).
17   (Ex. 3 to ECF #77, Att. 1.)
18          The June Subpoena bears the photocopied signature of Cynthia Quiel, the Presiding
19   Judge of the WCAB’s Long Beach district office. ARENDT is a judge in the WCAB’s Stockton
20   office. She was not assigned in Plaintiff’s Comp Case until after an application for adjudication
21   of Plaintiff’s claim was filed on July 24, 2020. (ARENDT Decl., ¶ 5.)
22          Neither ARENDT’s signature nor name appears anywhere in the June Subpoena. (Ex. 3
23   to ECF #77, Att. 1.) ARENDT had no role whatsoever in the issuance of the June Subpoena.
24   ARENDT never received or reviewed any records alleged to have been released pursuant to the
25   June Subpoena. Moreover, ARENDT never admitted records obtained under the June Subpoena
26   into evidence in the Comp Case. (ARENDT Decl., ¶ 10.) Last, ARENDT does not know
27   defendant Dr. Nhu and has had no involvement at any time or in any context with any
28
                                                      6

                    NOTICE OF AND MOTION TO DISMISS WITH SUPPORTING POINTS AND AUTHORITIES
                                              CASE NO. 4:20-CV-06363
              Case 4:20-cv-06363-YGR Document 126 Filed 12/21/21 Page 8 of 17




 1   conspiracy, collusion or plot to engage in unlawful conduct with any person or entity, including
 2   any of the defendants named in Plaintiff’s FAC, for any purpose whatsoever. (ARENDT Decl.,
 3   ¶ 11.)
 4            B. Plaintiff’s Interactions with Defendant Maribeth Arendt
 5            All of Plaintiff’s interactions with ARENDT took place in the context of his Comp Case,
 6   (ADJ #13431115.) (ARENDT Decl., ¶ 13) Plaintiff’s Comp Case was assigned for trial to
 7   ARENDT at the WCAB’s Stockton office. (ARENDT Decl., ¶ 4; see also, Cal. Code Regs., tit.
 8   8, § 10455, subd. (f).)
 9            During a February 3, 2021 hearing in the Comp Case, ARENDT properly ordered
10   Plaintiff to have a physical exam by a Qualified Medical Examiner (QME) so that the nature and
11   extent of his workplace injuries could be determined. Plaintiff became angry, and announced that
12   he would amend his pending federal lawsuit, filed with this court on September 10, 2020, to
13   name ARENDT. (ARENDT Decl., ¶ ¶ 6&7, Ex. A.) He further indicated that he would do so to
14   create a conflict necessitating ARENDT’s recusal from the Comp Case. (Ibid.; see also, FAC, p.
15   28) Plaintiff then filed comments in this court’s electronic docket purporting to “add” ARENDT
16   as a defendant. (ECF #22.)
17            As required by Magistrate Judge Ryu’s April 30, 2021 Order (ECF #24), Plaintiff filed
18   the FAC on July 7, 2021 (ECF #39). At that time, Plaintiff formally added ARENDT as a
19   defendant (although he did not indicate in what capacity he was suing her). He also revised his
20   originally-pled claims in two respects: to allege falsely that ARENDT “appeared” to have signed
21   the June Subpoena at the heart of his alleged invasion of privacy claim and other claims
22   allegedly involving the June Subpoena; and to allege that ARENDT’s tone and manner of
23   speaking to him at his Comp Case proceedings evinced an impermissible bias that caused a
24   violation of his civil rights.
25            C. The Amended Complaint
26            All but one of Plaintiff’s seven causes of action against ARENDT allegedly flow from
27   her signing the June Subpoena; the remaining cause of action, for a violation of his civil rights,
28
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                  NOTICE OF AND MOTION TO DISMISS WITH SUPPORTING POINTS AND AUTHORITIES
                                            CASE NO. 4:20-CV-06363
             Case 4:20-cv-06363-YGR Document 126 Filed 12/21/21 Page 9 of 17




 1   allegedly originates in bias not allegedly demonstrated by alleged wrongful act, but instead
 2   allegedly reflected in her tone and manner when conducting proceedings in his Comp Case.
 3          In his Civil Rights Violation cause of action, Plaintiff alleges, “Defendant Maribeth
 4   Arendt's unconstitutional behavior pattern was plagued from the start with egregious behaviors.”
 5   (FAC, p. 39.) Plaintiff claims that ARENDT was not impartial (Ibid.) but fails to demonstrate
 6   how that is true or moreover, how that alleged impartiality compelled and controlled her official
 7   actions in his Comp Case and thereby harmed him. Plaintiff then writes, “the displays of bias
 8   conflicts conducting signaling not only partiality but need for restraining by Ms. Arendt are
 9   numerous” (FAC, p. 40). He acknowledges adding ARENDT as a defendant to his lawsuit
10   because of such “displays,” and then noted she would need to recuse herself [from his workers’
11   compensation case] due to a conflict of interest. (FAC, pp. 41-43.)
12          At his 2nd cause of action, Invasion of Privacy, Plaintiff alleges ARENDT invaded his
13   medical privacy as follows:
14
            Defendant, Ms. Maribeth Arendt apparently, Signed a request for information, labeled as
15
            ‘Subpoena’ that was either a fraudulent document, or an intentional violation of
16
            Plaintiff’s privacy rights (invasion). Further, the document that was used by Defendant
17
            Guido to fraudulently induce multiple violations of HIPAA was signed prior to a case
18
            ever being registered in the Industrial Relations system, and prior to ever dealing with her
19
            as an adjudicator (there were two persons I spoke with prior to her).(FAC, p. 49.)
20

21          Each of the following claims against ARENDT are predicated likewise on the allegation
22   that she signed the June Subpoena: Negligence (FAC, p. 58); Fraud (FAC, p. 67); Aiding and
23   Abetting of Fraud, Conversion of Records and Benefits (FAC, p. 73); Tortious Interference with
24   Economic Advantage (FAC, pp. 77 – 78); and Malpractice (FAC, p. 83).
25          Plaintiff cannot overcome, however, the demonstrable falsity of that allegation. As such,
26   his Invasion of Privacy cause of action and all causes of actions allegedly arising from or related
27   to the same false allegation that ARENDT signed the June Subpoena must fail. (Ex. 3 to ECF
28
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                 NOTICE OF AND MOTION TO DISMISS WITH SUPPORTING POINTS AND AUTHORITIES
                                           CASE NO. 4:20-CV-06363
            Case 4:20-cv-06363-YGR Document 126 Filed 12/21/21 Page 10 of 17




 1   #77, Att. 1.)
 2           ARENDT is not named in the FAC’s remaining four causes of action. Therein Plaintiff
 3   refers only to “defendants”: Negligence Per Se (FAC, pp. 50 - 54); Breach of Contract (FAC,
 4   pp. 54-56); Whistleblower Retaliation (FAC, pp. 58 - 65); and Conversion (FAC, pp. 68 – 71)
 5           D. Insufficient Service of Process
 6           The court’s docket reveals several failed attempts by Plaintiff to effect proper service on
 7   ARENDT, including at least one attempt made without a proper summons. (ECF #44, 56, and
 8   84). Plaintiff has never attempted personal service on ARENDT in this action, nor has he
 9   demonstrated proof of such attempts. (ARENDT Decl., ¶ 9.)
10           On September 21, 2021, after this court issued a summons for Plaintiff’s FAC and it was
11   learned that Plaintiff had attempted service by a noncompliant means, Susan M. Marsh, DWC
12   Counsel for ARENDT (DWC Counsel), wrote to Plaintiff. (DWC Counsel Decl., ¶ 4, and Ex. A
13   thereto.) In that correspondence, DWC Counsel offered to accept service on ARENDT by way of
14   Notice and Waiver. That offer did not have an expiration date. DWC Counsel has never received
15   a response to that correspondence, nor has her mailing been returned to her by the USPS. (DWC
16   Counsel Decl., ¶ 5.)
17           In his October 3, 2021 request for a continuance, Plaintiff said he was “having difficulty”
18   serving ARENDT. (ECF #89.) By order, the court extended Plaintiff’s time to serve until
19   December 17, 2021. (ECF # 92).
20           On November 22, 2021, Plaintiff sent a copy of the summons and FAC by email
21   addressed to Presiding Judge Crawford, and multiple a public email boxes maintained by the
22   WCAB for use in adjudication matters. (DWC Counsel Decl., ¶ 7.)
23           On November 26, 2021, Plaintiff filed a document in this court’s docket that he
24   mislabeled “SUMMONS, Returned Executed,” and in the same entry, wrote, “Maribeth Arendt
25   served on 11/22/2021, answer due 12/13/2021.” (ECF # 97). The court’s clerk later edited that
26   entry to read, “Declaration of Certified Mail.” Plaintiff has never filed a receipt of that mailing
27   signed by any person. Per that Declaration, Plaintiff had directed the mailing of the summons
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                 NOTICE OF AND MOTION TO DISMISS WITH SUPPORTING POINTS AND AUTHORITIES
                                           CASE NO. 4:20-CV-06363
            Case 4:20-cv-06363-YGR Document 126 Filed 12/21/21 Page 11 of 17




 1   and the complaint to an address where, having appeared before her, Plaintiff knows ARENDT
 2   does not work, and further, is not ARENDT’s address listed in the summons itself. (ECF #97.)
 3           In light of the above, on December 9th, DWC Counsel again sent Plaintiff a letter by way
 4   of email and USPS in which she offered to accept service by waiver and on the terms set forth
 5   therein on behalf of ARENDT. (DWC Counsel Decl., ¶ 9.) The entries at ECF #103,106, and
 6   107 demonstrate that Plaintiff a) did not include a copy of DWC Counsel’s December 9, 2021
 7   letter to him which is referenced in and attached to DWC Counsel’s email; b) declined the offer
 8   to accept service in the manner proposed; and c) did not respond to two offers to discuss his
 9   claims with DWC Counsel or follow the suggestion that he file a voluntary dismissal of
10   ARENDT. At all times in her communication with Plaintiff, DWC Counsel notified Plaintiff that
11   he had not effected proper service on ARENDT. (DWC Counsel Decl., ¶ 10.)
12           Despite the above, Plaintiff claims in several text docket entries that he has effected
13   service, and moreover, Plaintiff makes the demonstrably false assertion that DWC Counsel for
14   ARENDT has acknowledged and accepted such service. (ECF #103, 106, & 107.) ARENDT
15   makes this Motion by Special Appearance.
16           III.      ARGUMENT
17           Specially-appearing ARENDT moves this court to dismiss her with prejudice from this
18   lawsuit without leave to amend on the bases of Plaintiff’s insufficient service of process; and the
19   court’s lack of subject matter jurisdiction.
20       A. LACK OF PERSONAL JURISDICTION DUE TO INSUFFICIENT SERVICE OF
21                     PROCESS (Fed. Rules Civ.Proc. 4, Fed. Rules Civ.Proc. 12(b)(5))
22           Specially-appearing ARENDT respectfully moves this court to dismiss her with
23   prejudice, immediately and without leave to amend from this lawsuit due to a lack of personal
24   jurisdiction as a result of insufficient service of process.
25
             A federal court does not have jurisdiction over a defendant unless the defendant has been
26
             served properly under [Federal Rule of Civil Procedure] 4
27
             …
28
                                                        10

                    NOTICE OF AND MOTION TO DISMISS WITH SUPPORTING POINTS AND AUTHORITIES
                                              CASE NO. 4:20-CV-06363
            Case 4:20-cv-06363-YGR Document 126 Filed 12/21/21 Page 12 of 17




            Rule 12(b)(5) permits a defendant to challenge the mode or method of service of the
 1
            summons and complaint. Where the validity of service is contested, the burden is on the
 2
            party claiming proper service to establish its validity. Cranford v. United States, (E.D.
 3
            Cal. 2005) 359 F. Supp. 2d 981, 984 (citing Grand Entm't Group, Ltd. v. Star Media
 4
            Sales, Inc. (3d Cir. 1993) 988 F.2d 476, 488). If service of process is insufficient under
 5
            Rule 12(b)(4) or 12(b)(5), the court may dismiss an action or simply quash the
 6          service. (See, e.g., S.J. v. Issaquah Sch. Dist. No. 411 (9th Cir. 2006) 470 F.3d 1288,
 7          1293.) Razavi v. Regis Corporation (N.D. Cal., Jan. 8, 2016, No. 5:15-CV-02574-EJD)
 8          2016 WL 97438, at *1–2.
 9      1. Plaintiff Missed the December 17, 2021 Deadline to Serve ARENDT
10          As of this Motion’s date, Plaintiff has not demonstrated having effected sufficient process
11   as to ARENDT as authorized and as required under Rule 4 of the Federal Rules of Civil
12   Procedure, including as authorized under California law. (Fed. Rules Civ.Proc. Rule 4 (e)(1);
13   Cal. Code Civ. Proc., §§ 413.10-417.40.) Plaintiff has failed to meet the court’s December 17,
14   2021 deadline to effect service on ARENDT. (ECF # 92) Accordingly, this court should dismiss
15   his action as to ARENDT immediately and with prejudice, and without leave to amend.
16      2. Plaintiff Did Not Follow the Applicable Rules of Service
17          The Federal Rules of Civil Procedure for service of summons, as well as the California
18   Code of Civil Procedure incorporated by reference therein, sets forth the foremost rule that a
19   party itself cannot effect service of process, and also provides that the manner of service of
20   summons permitted depends on the nature (capacity) of the party to be served (e.g., individual,
21   public official, corporation) (Fed. Rules Civ.Proc. Rule 4; Cal. Code Civ. Proc., §§ 413.10-
22   417.40 & 414.10.). Although Plaintiff fails to plead the capacity in which he has sued ARENDT,
23   he also has not named any government entity, including ARENDT’s employer, as a defendant.
24   Therefore, it appears Plaintiff aimed to effect service of process on ARENDT in her individual
25   capacity. (ECF # 97, 103, 106 & 107.)
26          Plaintiff has failed to effect proper service on ARENDT as required by law. First,
27   contrary to statute, Plaintiff himself has engaged in the efforts to effect service on ARENDT.
28
                                                      11

                 NOTICE OF AND MOTION TO DISMISS WITH SUPPORTING POINTS AND AUTHORITIES
                                           CASE NO. 4:20-CV-06363
             Case 4:20-cv-06363-YGR Document 126 Filed 12/21/21 Page 13 of 17




 1   (Fed. Rules Civ.Proc. Rule 4 (c)(2); Cal. Code Civ. Proc., § 414.10.). Second, per Plaintiff’s text
 2   entries in this docket (ECF #103, 106 & 107), and his Motion for Default against ARENDT, it
 3   appears that Plaintiff was attempting “substitute service” on ARENDT. Yet Plaintiff never
 4   attempted personal service on ARENDT in this action (ARENDT Decl., ¶ 9), and has provided
 5   no proof of such attempts. Applicable law does not allow Plaintiff to use substitute service
 6   without first attempting to serve ARENDT personally. (Cal. Code Civ. Proc. § 415.20, subd.
 7   (b).)
 8           Further, Plaintiff did not follow the statutory steps for substitute service. It appears
 9   Plaintiff attempted the first prong of substitute service (the dropping or leaving prong) by
10   emailing a copy of the summons and complaint on November 22, 2021 to Presiding Judge
11   Crawford and multiple DWC public email boxes for workers’ compensation matters at the
12   Stockton board. (DWC Counsel Marsh Decl., ¶ 7.) As the complaining party, though, Plaintiff is
13   prohibited from attempting to serve another party in the action. (Cal. Code Civ. Proc., § 414.10.)
14   Also, the Stockton Board office was open to the public at that time (ARENDT Decl., ¶ 3.) and
15   further, no authority permits substitute service by way of email.
16           Plaintiff’s mistakes with regard to substitute service continued when, as the Declaration
17   of Service by Mail shows (ECF # 97), he then directed RapidLegal to send a copy of the
18   summons and complaint by certified mail addressed to “Maribeth Arendt, 455 Golden Gate
19   Avenue, 9th Floor, San Francisco, California, 94102.” ARENDT neither lives nor works at that
20   address. Moreover, Plaintiff has filed no evidence with this court that ARENDT or anyone
21   authorized to accept service of process on behalf of ARENDT signed a receipt of RapidLegal’s
22   mailing. Assuming that Plaintiff had properly left a copy of the summons and complaint with an
23   individual at the Stockton board, where he knows ARENDT works, Plaintiff was required to
24   have a copy of those same documents mailed to ARENDT at the Stockton board. (Code Civ.
25   Proc. § 415.20 subd. (b).).
26       3. Dismissal of Defendant Maribeth Arendt is Proper
27           Plaintiff has failed to comply with the requirements for sufficient service of process, and
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                 NOTICE OF AND MOTION TO DISMISS WITH SUPPORTING POINTS AND AUTHORITIES
                                           CASE NO. 4:20-CV-06363
               Case 4:20-cv-06363-YGR Document 126 Filed 12/21/21 Page 14 of 17




 1   has refused to accept ARENDT’s two good faith offers to accept service by notice and waiver.
 2   Because Plaintiff has failed to meet the court’s December 17, 2021 deadline to effect service on
 3   ARENDT (ECF # 92), this court should dismiss her from this action with prejudice, with no
 4   leave to amend, and immediately. Further, and in the alternative, because Plaintiff has failed to
 5   properly effect sufficient service on ARENDT at any time, this court should dismiss this action
 6   with prejudice, with no leave to amend, and immediately as to ARENDT due to its lack of
 7   personal jurisdiction over ARENDT and as allowed by the Federal Rules of Civil Procedure.
 8   Plaintiff cannot be prejudiced by the dismissal of a baseless and vexatious lawsuit as to
 9   ARENDT. (Cranford v. U.S. (E.D. Cal. 2005) 359 F.Supp.2d 981, 985.)
10      B. LACK OF SUBJECT MATTER JURISDICTION
11             A party may bring a motion to dismiss where there is a “lack of jurisdiction over the
12   subject matter.” Fed. Rules Civ. Proc. 12(b)(1). The court’s lack of subject matter jurisdiction in
13   this action arises from three grounds: absolute judicial immunity; a State of California
14   employee’s immunity from liability for monetary damages; and improper forum for relief
15   sought.
16      1. As a WCAB ALJ, Defendant Maribeth Arendt Enjoys Judicial Immunity
17             All of Plaintiff’s allegations against ARENDT allegedly arise from her performance of
18   judicial functions as a WCAB administrative law judge in two respects: her “appearing to have
19   signed the June Subpoena,” and her “biased” tone and manner of speech in matters in Plaintiff’s
20   Comp Case. Even if one takes as true Plaintiff’s allegations that ARENDT’s actions in
21   performing her judicial duties were unlawful, ARENDT’s actions enjoy absolute immunity.
22   Mireles v. Waco (1991) 502 U.S. 9, 11; Stump v. Spartman (1973) 435 U.S. 349, 362 (“the
23   factors determining whether an act by a judge is a ‘judicial’ one relate to the nature of the act
24   itself, i.e., whether it is a function normally performed by a judge, and to the expectations of the
25   parties, i.e., whether they dealt with the judge in his judicial capacity.”)
26             Under both federal and state law, judicial or quasi-judicial immunity has specifically
27   been extended to administrative law bodies and officers performing adjudicatory functions.
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                   NOTICE OF AND MOTION TO DISMISS WITH SUPPORTING POINTS AND AUTHORITIES
                                             CASE NO. 4:20-CV-06363
             Case 4:20-cv-06363-YGR Document 126 Filed 12/21/21 Page 15 of 17




 1   (Butz v. Economou (1978) 438 U.S. 478, 508-514 [98 S.Ct. 2894, 2896, 57 L.Ed.2d 895];
 2   Romano v. Bible (9th Cir. 1999) 169 F.3d 1182, 1186; Jordan v. Hawaii Government Employees'
 3   Ass'n, Local 152, AFSCME, AFL-CIO (D. Hawaii 1979) 472 F.Supp. 1123, 1127; Taylor v.
 4   Mitzel (1978) 82 Cal.App.3d 665, 670-671 (a hearing officer adjudicating Medi-Cal benefits
 5   disputes had immunity from liability, both under 42 U. S. C. §1983 and in tort, since the acts
 6   were committed by a quasi-judicial officer acting in an official capacity).)
 7           Absolute immunity is applicable to a judicial officer even when, as in the FAC’s first
 8   cause of action, it is alleged that he or she violated or conspired to violate the plaintiff’s civil
 9   rights under 42 U.S.C. §1983. (Hirsh v. Justices of the S.Ct. of the State of Cal. (9th Cir. 1995)
10   67 F.3d 708, 715 (per curiam); Mireles v. Waco (1991) 502 U.S. 9, 9-10, 112 S.Ct. 286; Dennis
11   v. Sparks (1980) 449 U.S. 24, 27.)
12           Allegations, such as those made by Plaintiff throughout the FAC, that ARENDT acted
13   out of malice or corrupt motives are likewise unavailing, (Harlow v. Fitzgerald (1982) 457 U.S.
14   800, 815-819), because a judge "should not have to fear that unsatisfied litigants may hound him
15   with litigation charging malice or corruption." (Scott v. Hayes (11th Cir. 1983) 719 F.2d 1562,
16   1565.) Judicial immunity is applicable even where a judge's actions are alleged to have been
17   performed maliciously or corruptly. (Dennis, 449 U.S. at 27; Falls v. Superior Court (1996) 42
18   Cal.App.4th 1031, 1036-1037, 49 Cal.Rptr.2d 908.)
19       2. State of California Employees Are Not Liable for Monetary Damages
20           Plaintiff’s Prayer for Relief seeks “all available remedies including compensatory, and
21   punitive damages.” (ECF #39, FAC, p. 85.) Yet Plaintiff has failed to provide any facts
22   demonstrating that ARENDT’s complained of conduct was unlawful or outside the scope of her
23   authorized responsibilities as a state employee, and therefore actionable. Moreover, Plaintiff has
24   not alleged how ARENDT’s alleged wrongful conduct caused him harm.
25           Plaintiff alleges that ARENDT “appears” to have signed a WCAB subpoena that
26   compelled the release of his medical records. The June Subpoena’s face shows a) it was signed
27   by another WCAB judge; and b) it was prepared and issued not by the WCAB but by GAITERI.
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                 NOTICE OF AND MOTION TO DISMISS WITH SUPPORTING POINTS AND AUTHORITIES
                                           CASE NO. 4:20-CV-06363
             Case 4:20-cv-06363-YGR Document 126 Filed 12/21/21 Page 16 of 17




 1   The records released under the June Subpoena were not reviewed by ARENDT and were not
 2   admitted into evidence in Plaintiff’s Comp Case. (ARENDT Decl., ¶ 10.)
 3           Plaintiff alleges that in adjudicating his Comp Case, ARENDT acted in an impartial
 4   manner but provides no facts demonstrating so. To date, ARENDT has only issued one order in
 5   the Comp Case, which concerned Plaintiff’s QME exam. (ARENDT Decl., ¶ 14.) Plaintiff has
 6   not alleged or demonstrated any bias or impartiality in that order, nor has he alleged or
 7   demonstrated that the order was unlawful. Plaintiff’s Comp Case is still pending.
 8           Plaintiff State employees enjoy immunity for their lawful conduct in the performance of
 9   their authorized job responsibilities. (Cal. Gov. Code, §§ 820.4 & 950.2.)
10        3. Plaintiff Seeks Relief in The Wrong Forum
11           In essence, Plaintiff’s only discernable but demonstrably false allegation of allegedly
12   actionable conduct by ARENDT, i.e., her alleged signing of a WCAB subpoena before an
13   application for adjudication of Plaintiff’s workers’ compensation claim had been filed, is a
14   challenge to the validity of a WCAB subpoena. This court has no jurisdiction to adjudicate that
15   issue. (Atlantic Coast Line Railroad Co. v. Brotherhood of Locomotive Engineers (1970) 398
16   U.S. 281, 296.) Instead, that jurisdiction belongs to the Workers’ Compensation Appeals Board.
17   (Cal. Lab. Code, § 5300.)
18           Insofar as any of Plaintiff’s causes of action naming ARENDT can be interpreted as
19   stating Plaintiff’s disagreement with the actions, rulings, or orders made by ARENDT in his
20   Comp Case, including actions related to the allegedly improper admission of medical records
21   into evidence, or the validity of the form subpoena used for those records, Plaintiff likewise must
22   find relief within the State of California’s workers’ compensation system, not in federal court.
23   The WCAB has exclusive jurisdiction over such matters. (Cal. Lab. Code, § 5300.)
24   //
25   //
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                 NOTICE OF AND MOTION TO DISMISS WITH SUPPORTING POINTS AND AUTHORITIES
                                           CASE NO. 4:20-CV-06363
            Case 4:20-cv-06363-YGR Document 126 Filed 12/21/21 Page 17 of 17




 1                                    IV.       CONCLUSION
 2          For all the reasons set forth above, this Motion to Dismiss by specially-appearing
 3   Defendant Maribeth Arendt should be granted, and Plaintiff’s FAC dismissed as to specially-
 4   appearing Defendant Arendt with prejudice, immediately and without leave to amend.
 5
                                                 Respectfully submitted,
 6
     Dated: December 21, 2021                    STATE OF CALIFORNIA
 7
                                                 Department of Industrial Relations
 8                                               Division of Workers’ Compensation
 9

10
                                                 By: /S/ Susan M. Marsh
11                                               Susan M. Marsh
12                                               Attorney for Specially-Appearing
                                                 Defendant Maribeth Arendt
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                NOTICE OF AND MOTION TO DISMISS WITH SUPPORTING POINTS AND AUTHORITIES
                                          CASE NO. 4:20-CV-06363
